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                            UNITED STATES DISTRICT COURT
                        DISTRICT OF IDAHO (NORTHERN DIVISION)

CODY J. SCHUELER, an individual,

                       Plaintiff,                   Case No. 2:22-cv-00389-DCN

      v.
                                                    DECLARATION OF ANDREW M.
FOUR SQUAREBIZ, LLC, a Wyoming                      WAGLEY IN SUPPORT OF
limited liability company, KEITH O.                 PLAINTIFF’S MOTION FOR
CREWS, an individual and the associated             ATTORNEYS’ FEES AND COSTS
marital community, MICAH EIGLER, an
individual and the associated marital
community, and JOHN AND JANE DOES
1-10,

                       Defendants.


      I, Andrew M. Wagley, hereby declare the foregoing is true and correct to the best of my

knowledge:

      1.       I am over the age of eighteen and competent to testify regarding the matters

               stated herein. I am attorney of record for the Plaintiff, Cody J. Schueler. I make

               this Declaration in Support of Plaintiff’s Motion for Attorneys’ Fees and Costs.




   Declaration of Andrew M. Wagley                    ETTER, MCMAHON, LAMBERSON,
   in Support of Motion for Attorneys’ Fees           VAN WERT & ORESKOVICH, P.C.
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   2.       I have been a member of the Idaho State Bar since 2017. Additionally, I have

            been a member of the Washington State Bar since 2015. I am admitted to

            practice in both State and Federal Courts in Washington and Idaho.

   3.       I received my Juris Doctor (JD) degree from the Gonzaga University School of

            Law in 2015, graduating summa cum laude. While in law school, I received the

            CALI Excellence for the Future Awards (awarded for the highest grade in the

            class) for Criminal Law, Professional Responsibility, Constitutional Law, Legal

            Research & Writing, and Foundations of Appellate Law. Prior to law school, I

            graduated from the University of Washington Michael G. Foster School of

            Business, with a BA in Business Administration (Accounting Option) and cum

            laude honors.

   4.       I am a Shareholder / Principal at Etter, McMahon, Lamberson, Van Wert &

            Oreskovich, P.C. I previously clerked for the Honorable Robert Lawrence-

            Berrey in Division Three of the Court of Appeals of Washington. My practice

            areas of emphasis are commercial / business litigation, criminal defense, and

            other complex litigation. During my practice, I have tried several jury trials,

            successfully litigated multiple dispositive motions, and argued in front of

            Division Three of the Court of Appeals of Washington resulting in reversal in

            favor of my client in a trade secrets matter.

   5.       I have received Best Lawyers: Ones to Watch recognition for Commercial

            Litigation from 2021 to present. Best Lawyers is a peer-review legal publication




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            company and the Ones to Watch recognition is based upon peer nomination in

            private practice. I have also received a 10.0 Superb Rating designation from

            Avvo, which evaluates and rates attorneys on a scale of 1 (Extreme Caution) to

            10 (Superb) based upon information provided and Avvo’s own research.

            Additionally, I have been listed as a Top Lawyer for Business Law in the

            Spokane-Coeur d’Alene Living magazine since 2021.

   6.       Attached hereto as Exhibit A is a true and correct copy of my Curriculum Vitae

            (CV) containing additional biographic information.

   7.       On September 5, 2023, the Court granted Default Judgment in favor of Plaintiff

            Cody Schueler and against Defendants Four SquareBiz, LLC and Keith O.

            Crews (individually and his associated marital community), jointly and

            severally, in the amount of $1,199,809.31, comprising $938,967.55 in principal

            and $260,841.76 in interest. (See ECF No. 37.)

   8.       This was not a run of the mill commercial litigation matter and default

            judgment.      Rather, this litigation involved multiple substantive commercial

            claims / causes of action (including fraud and civil conspiracy) stemming from

            Defendants’ breach of three Bitcoin Loan Agreements, along                           with

            accompanying Personal Guarantees.

   9.       On behalf of Plaintiff, we not only pled and defaulted Defendants for multiple

            commercial claims, but also had to analyze choice of law issues and the

            implication of community property laws.               This litigation was further




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            complicated by virtue of Defendant Micah Eigler’s Chapter 7 Bankruptcy, the

            application of the automatic stay pursuant to 11 U.S.C. § 362(a), and the

            associated analysis regarding default judgment against less than all defendants.

   10.      For the reasons articulated in the accompanying Memorandum of Law, Plaintiff

            seeks recovery of $17,184.50 in reasonable attorneys’ fees and $940.52 in costs.

   11.      Attached hereto as Exhibit B is a true and correct copy of billing itemizations

            regarding attorneys’ fees and costs incurred during my firm’s representation of

            Plaintiff in this matter. This spreadsheet was compiled from billing records

            maintained by my firm.

   12.      As indicated in Exhibit B, I charged $275 per hour for attorney services and an

            associate in my office charged $210 per hour in this matter. These amounts

            were charged pursuant to a fee agreement with the client. From my experience,

            these rates are reasonable and consistent with the Northern Idaho legal market.

            My standard rate for current commercial litigation matters varies between $275

            to $300 per hour.

   13.      Our request does not include segregable attorneys’ fees and costs incurred

            regarding Defendant Micah Eigler in this matter as Defendant Eigler is not

            included in the Default Judgment.         However, fees incurred tangentially

            involving Defendant Eigler, such as joint communications to all Defendants and

            research to obtain the Default Judgment following Defendant Eigler’s Chapter 7




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              Bankruptcy, cannot reasonably be separated and were necessary for Plaintiff to

              prevail in this matter.

     14.      The entries in Exhibit B that indicate “n/c” document fee entries that either

              solely involve Defendant Eigler, were not charged to the client, or otherwise are

              not sought in Plaintiff’s accompanying Motion.

     15.      Furthermore, the last page Exhibit B includes costs incurred in connection with

              this matter. As indicated therein, Plaintiff seeks recovery of $600 in expert

              witness fees incurred to obtain the Declaration of Richard T. Wetmore Re:

              Reasonable Northern Idaho Commercial Litigation Rates.

     16.      Based upon the foregoing and accompanying Memorandum of Law, Plaintiff’s

              attorneys’ fees and costs request is reasonable and warranted based upon the

              Agreements at issue and Plaintiff’s status as prevailing party in this commercial

              litigation. The combined attorneys’ fees and costs request of $18,125.02 is only

              approximately 1.5% of the $1,199,809.31 Judgment obtained.

     I hereby declare the foregoing is true and correct under penalty of perjury of the laws of

the United States of America and State of Idaho.

     EXECUTED this 19th day of September, 2023 in Spokane, Washington.


                                             By: /s/ Andrew M. Wagley
                                                Andrew M. Wagley




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